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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

                 Plaintiff,

         v.                                                Case No. 92-CR-40065-JPG

 LEROY LAMBERT,

                 Defendant.

                                 MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Leroy Lambert’s motion for a reduction of

his criminal sentence pursuant to 18 U.S.C. § 3582(c)(2) and United States Sentencing Guideline

Manual (“U.S.S.G.”) § 1B1.10 (Doc. 336). Lambert was found guilty by a jury in 1993 of one count

of conspiracy to possess with intent to distribute crack cocaine. Due to a firearms enhancement

and drug quantities, the Court determined Lambert’s offense level pursuant to U.S.S.G. § 2D1.1

to be 38. Lambert was determined to have a criminal history category of VI. Lambert’s career

offender level under U.S.S.G. § 4B1.1 was 37. Because Lambert’s offense level was greater than

his career offender level, his guideline range was calculated using his offense level of 38. His

guideline range was 360 months to life. The Court sentenced Lambert to a term of imprisonment of

360 months, followed by a term of supervised release.

       Section 3582(c)(2) allows the Court to reduce a defendant’s previously imposed sentence

where “a defendant . . . has been sentenced to a term of imprisonment based on a sentencing range

that has subsequently been lowered by the Sentencing Commission pursuant to 28 U.S.C. 994(o).”

In doing so, the Court must consider the factors set forth in 18 U.S.C. § 3553(a) and must ensure

that any reduction “is consistent with applicable policy statements issued by the Sentencing

Commission.” 18 U.S.C. § 3582(c)(2). Thus, a defendant urging a sentence reduction under §
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3582(c)(2) must satisfy two criteria: (1) the Sentencing Commission must have lowered the

applicable guideline sentencing range, and (2) the reduction must be consistent with applicable

policy statements issued by the Sentencing Commission.

I.     Lowered Guideline Range

       Lambert satisfies the first criteria because he was “sentenced to a term of imprisonment

based on a sentencing range that has subsequently been lowered by the Sentencing Commission

pursuant to 28 U.S.C. 994(o).” 18 U.S.C. § 3582(c)(2). Amendments 706 and 711 amended

U.S.S.G. § 2D1.1(c) as of November 1, 2007, to lower by two points the base offense levels

associated with various amounts of crack cocaine. The Sentencing Commission amended

U.S.S.G. § 2D1.1(c) intending to alter the disparity in sentences involving crack cocaine and

sentences involving powder cocaine. Because Lambert was sentenced based on his offense level

set forth in U.S.S.G. § 2D1.1, the amendment has the effect of lowering his base offense level to 36.

II.    Consistency with Policy Statement

       However, Lambert does not meet the second criterion. The Sentencing Commission’s

policy statement governing sentence reductions following guideline amendments is contained in

U.S.S.G. § 1B1.10. That section provides that the guideline range reduction contained in

Amendments 706 and 711 may be applied retroactively pursuant to 18 U.S.C. § 3582(c)(2) to reduce

previously imposed sentences with certain limitations. U.S.S.G. § 1B1.10(a)(1) & (c). Thus, the

Court now has discretion under 18 U.S.C. § 3582(c)(2) to reduce the sentences of some defendants

sentenced for offenses involving crack cocaine.

       However, not all defendants whose sentences were based, in whole or in part, on

involvement with crack cocaine are eligible for such a reduction. For example, the application notes

to U.S.S.G. § 1B1.10(a) plainly provide that a § 3582(c)(2) reduction is not authorized where the

guideline amendment “does not have the effect of lowering the defendant’s . . . guideline range

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because of the operation of another guideline or statutory provision (e.g., a statutory mandatory

minimum term of imprisonment).” U.S.S.G. § 1B1.1 app. note 1(A).

        Because Lambert’s career offender base offense level of 37 is greater than his revised base

offense of 36, pursuant to U.S.S.G § 4B1.1, the Court uses the career offender level to determine the

new applicable guideline range. For an offender with an offense level of 37 and a criminal history

category of VI, the guideline range is 360 months to life. This the same as Lambert’s original

guideline range. Therefore, because of the operation of another guideline provision, the guideline

amendment does not have the effect of lowering Lambert’s guideline range. Thus, a reduction of

Lambert’s sentence would be inconsistent with the policy statement set forth in U.S.S.G. § 1B1.10,

and therefore is not authorized by 18 U.S.C. § 3582(c)(2).

        In sum, the Court has no discretion to reduce Lambert’s sentence because he is not eligible

for such a reduction. Accordingly, the Court DENIES Lambert’s motion to reduce sentence (Doc.

336).

IT IS SO ORDERED.
DATED: September 18, 2008.

                                                       s/ J. Phil Gilbert
                                                       J. PHIL GILBERT
                                                       DISTRICT JUDGE




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